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 3                                   UNITED STATES DISTRICT COURT

 4                                           DISTRICT OF NEVADA

 5
      UNITED STATES OF AMERICA,                             Case No. 3:01-cr-00059-RCJ-RAM
 6
                             Plaintiff,
 7           v.                                             ORDER

 8    PEDRO GALLARDO,

 9                           Defendant.

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11          Leave of Court is granted for the filing of the foregoing motion to dismiss pursuant to Fed. R.

12   Crim. P. 48(a); and

13          IT IS THEREFORE ORDERED that the indictment against PEDRO GALLARDO is hereby

14   DISMISSED.

15          Dated this ____   day
                        8th day    of April,
                                of June, 2023.2023.

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17                                                      ROBERT C. JONES, JUDGE
                                                        UNITED STATES DISTRICT COURT
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